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              IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                        NO. 4:09CR00086-010 SWW

CANDICE RUSSELL




                                   ORDER

      Pending before the Court is government's motion for dismissal of the

second superseding indictment against defendant, CANDICE RUSSELL.             The

defendant has resolved her case through the Court’s acceptance of her

guilty plea to Count 1 of the superseding indictment in this case.

      IT IS SO ORDERED that the government’s motion to dismiss defendant

[doc #185] is granted and the second superseding indictment as to

defendant CANDICE RUSSELL hereby is dismissed.

      DATED this 19th day of January 2010



                                           /s/Susan Webber Wright
                                           UNITED STATES DISTRICT JUDGE
